     Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 1 of 16



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                    )
                                       )     15-CV-6119 (AJN) (JLC)
              Plaintiff;
                                       )
       v.                              )
                                              HON. ALISON J. NATHAN
                                       )           DISTRICT JUDGE
Dennis Mehiel, Robert Serpico, The     )
Battery Park City Authority, Howard    )       HON. JAMES L. COTT
Milstein, Steven Rossi, Janet Martin,            MAGISTRATE JUDGE
                                       )
Milford Management, Mariners Cove Site
                                       )
B Associates
                                       )
              Defendants.              )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )
                                       )


   PLAINTIFF’S REPLY to REAL ESTATE’S MEMORANDUM of LAW in
    OPPOSITION to PLAINTIFF’S MOTION for SUMMARY JUDGMENT


Steven E. Greer, MD, pro se
4674 Tatersall Court
Columbus, Ohio 43230
(212) 945-7252
steve@batterypark.tv
        Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 2 of 16



                                                    Table of Contents


PRELIMINARY STATEMENT .................................................................................................... 1


ARGUMENTS................................................................................................................................ 2


1. Spoliation Warrants Sanctions and Summary Judgment ............................................................ 2

  A.       The Email Described by Soriero Was Never Produced .................................................... 2

  B.       The Lawyers Obstructed the Depositions.......................................................................... 4


2. The Soriero Testimony Is Admissible ........................................................................................ 6

  a. The Soriero Voice and Phone Call Are Authentic and Validated ........................................ 6

  b. The Soriero Transcript Is Not Inadmissible Hearsay............................................................ 7

  c. The Key Email Described by Soriero Was Not Produced.................................................... 9


3. The Swanson Testimony Is Admissible.................................................................................... 10


4. The Ford Testimony Proves Serpico’s Motive for Conspiracy ................................................ 10


5. Plaintiff’s Rent Payment Pattern Was Never a Reason for Eviction ........................................ 11


6. Plaintiff’s Eviction was Unique and No Other Tenant Was Ever Evicted ............................... 12


CONCLUSION............................................................................................................................. 12




                                                                                                                                         II
        Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 3 of 16



                                                     Table of Authorities

Cases

CAT3, LLC v. Black Lineage, Inc., 14 Civ. 5511 (AT) (JCF), 164 F. Supp. 3d 488, 497 (S.D.N.Y.

  Jan. 12, 2016)............................................................................................................................... 3

Evans v. Port Auth. of N.Y. & New Jersey, 192 F. Supp. 2d 247, 262 (S.D.N.Y. 2002)................ 8

Grayson v. Williams, 256 F.2d 61 (10th Cir. 1958)........................................................................ 8

Hargett v. National Westminster Bank, USA, 78 F.3d 836, 842 (2d Cir. 1996) ............................. 9

Koninklijke Luchtvaart Maatschappij N.V. KLM Royal Dutch Airlines v. Tuller, 110

  U.S.App.D.C. 282, 292 F.2d 775, 784 (1961)............................................................................. 8

Martin v. Savage Truck Lines, Inc., 121 F.Supp. 417 (D.D.C. 1054) ............................................ 8

Penguin Books U.S.A., Inc. v. New Christian Church of Full Endeavor, Ltd., 262 F. Supp. 2d

  251, 263–64 (S.D.N.Y. 2003) (emphasis supplied)..................................................................... 6

United States v. Dinero Express, Inc., No. 99 Cr. 75, 2000 WL 1134484, at *1 (S.D.N.Y. Aug.9,

  2000)............................................................................................................................................ 6

United States v. Morrison, 153 F.3d 34, 56 (2d Cir.1998). ............................................................ 6

Rules

New Jersey Evidence Rule 63(9)(a) ............................................................................................... 8

Uniform Rule 63(9)(a), Kansas Code of Civil Procedure §60–460(i)(1) ....................................... 8

Federal Rules of Evidence 801 ....................................................................................................... 7

Federal Rules of Evidence 804 ....................................................................................................... 8




Treatises

4 Wigmore, 1964 Supp., pp. 66–73 ................................................................................................ 8

Northern Oil Co. v. Socony Mobile Oil Co., 347 F.2d 81, 85 (2d Cir. 1965)................................. 8
                                                                                                                                                 III
      Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 4 of 16



       Plaintiff Steven E. Greer, MD hereby submits this Memorandum of Law in Reply to the

Real Estate Defendants’ Memorandum of Law in Opposition (Dkt. No. 405). The facts

underlying this opposition are fully set forth in Plaintiff’s previously filed Rule 56.1 Statement of

Undisputed Facts in Support of his Motion for Summary Judgment, dated June 7, (Dkt. No. 368)

as well as Plaintiff’s opposition 56.1 Statements (Dkt. No’s 396 and 397).


                               PRELIMINARY STATEMENT


       In the Real Estate Defendants’ MOL in opposition, they attempt to refute the mountain of

evidence against them, which includes 10 depositions and thousands of documents. Their

defense arguments claim the witness testimony as inadmissible hearsay, claim that Plaintiff

failed to pay timely rent for years (but was only “erratic”, never missing payments), and claim

they were not guilty of spoliation that would warrant sanctions. Lacking real evidence, they

resort to smear tactics and hyperbole, such as “Plaintiff has not proffered any evidence, let alone

admissible evidence…”


       Plaintiff has proven beyond a reasonable doubt, and much more by a preponderance of

the evidence, that (A) Defendant Rossi conspired with the BPCA’s Robert Serpico to not renew

Plaintiff’s apartment lease, thereby evicting him in retaliation for his reporting in the press on

BPCA scandals. (B) Serpico and Rossi had a close relationship for 30-years and Rossi was

technically the tenant to Serpico’s BPCA landlord. Therefore, Serpico had leverage over Rossi

derived from the friendship and business relationship. (C) Also, Serpico had a motive to retaliate,

with an eyewitness stating the Serpico would angrily discuss Plaintiff’s BatteryPark.TV during

official meetings.




                                                                                                      1
      Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 5 of 16



       And finally, (D), Plaintiff proved that he did nothing to deserve to being evicted. He

never missed a rent payment prior to being evicted and never behaved badly toward other

residents. In fact, his lease was recently renewed in May of 2013 before the January 2014 letter

on non-renewal. The defendants can only claim that rent payments were “erratic”, citing

erroneous inadmissible accounting spreadsheets made for the sole purpose of this litigation.

Likewise, the allegations that Plaintiff was harassing neighbors derive from efforts by the

lawyers to collect incriminating evidence solely for the purpose of this litigation.


                                         ARGUMENTS

1. Spoliation Warrants Sanctions and Summary Judgment

       On page 14 of the real estate defendants MOL in opposition, they deny Plaintiff’s

spoliation charges and portray the matter as being all related to one single “smoking gun email”.

In fact, Plaintiff’s spoliation charges relate to multiple acts of spoliation and obstruction of

depositions.

   a. The Email Described by Soriero Was Never Produced

       Plaintiff detailed in his MOL (Dkt. No. 367 at 15) the “smoking gun” email described by

witness Linda Soriero during a telephone call. She stated on the call:

       “Oh, because I saw an email that -- but see I'm not supposed to see an email. It
       was on Bob's screen to Steve Rossi that basically -- to -- to look into your -- to --
       to your rent situation. And then he kept calling and calling. And Bob said one day
       to me: Oh, Steven Greer, he's no longer in his apartment. So I looked at him like:
       What? And you didn't have anything to do with it?”

That email was never produced during discovery and both groups of defendants (i.e. the BPCA

and real estate) blocked multiple attempts by Plaintiff to subpoena the contents of their computer

archive servers (see Judge Cott order quashing subpoenas, Dkt. No. 345). The real estate

defendants openly admitted to Judge Cott during a bench hearing conference call on May 18,

2017, as well as in an affidavit ordered by Judge Cott (Greer Decl. Ex. N), and then again in their

                                                                                                    2
        Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 6 of 16



MOL in opposition on page 17, that they deleted emails from their in-house real estate office

computer server. Now in a pickle, the lawyers try to use case law to escape the liability of

spoliation.

         On page 14 of their MOL in opposition, they argue that FRCP 37(e) does not allow

sanctions because Plaintiff failed to “show” that the email is not available from the BPCA’s

computers, citing CAT3, LLC v. Black Lineage, Inc., 14 Civ. 5511 (AT) (JCF), 164 F. Supp. 3d

488, 497 (S.D.N.Y. Jan. 12, 2016). But that argument is false because the BPCA quashed a

subpoena of their Iron Mountain archives, making it impossible to “show” whether the email

exists or not.

         They argue that, since the Soriero-described email was sent by Serpico, it should have

been produced by the BPCA during discovery. However, that argument falls flat too because the

BPCA staff admitted during depositions (see Serpico transcript, Greer Decl. Ex. H, at 21:13-35)

that they deleted emails from their office desk computers. This spoliation occurred after Plaintiff

had sent cease-and-desist emails, warning all defendants to not delete documents or other

evidence, on March 23, 2014 (see Greer Decl. Ex O) and May 28, 2014 (Id. Ex. P).

         The real estate defendants argue on page 15 that Plaintiff never motioned the BPCA to be

compelled to produce emails. That too is false. Plaintiff not only opposed the motion to quash,

but then also motioned for Judge Cott to reconsider his order, and was denied again (Dkt. No.

345). Then, Plaintiff issued to the BPCA a supplemental document request for the emails after

the depositions and the BPCA refused to comply again, objecting to the requests (see Greer Decl.

Ex. Y). All of this was reported to Judge Cott during a bench hearing conference call on May 18,

2017.

         Also, Plaintiff filed a formal motion to compel the real estate defendants to produce the

emails on May 13, 2017 (Dkt. No. 342). It was denied.



                                                                                                     3
      Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 7 of 16



         On page 16 of their MOL in opposition, they wrote a sentence that seems to make no

sense:

         “Thus, it is Landlord Defendants’ position that Plaintiff has the documents at
         issue (see Plaintiff’s Exhibit P) or has failed to do so, and has thereby waived any
         spoliation claims by not seeking the document prior to the close of discovery.”

In addition to the sentence being incomplete, Ex. P, to which they refer, is an email that

seems irrelevant.

         Then on page 16, the lawyers argue that:

         “Plaintiff cannot show that Landlord Defendants could have reasonably
         anticipated litigation requiring the preservation of Plaintiff’s emails prior to the
         filing of this action….Landlord Defendants do not concede that Plaintiff’s emails
         from March and May 2014 (see Exs. O & P), sent more than a year prior to the
         commencement of this litigation, put Plaintiff on reasonable notice to preserve its
         emails.”

The real estate lawyers argue, since housing court litigation was near at hand but not yet

initiated, and since those special proceedings courts do not allow discovery, that somehow

Plaintiff’s emails to cease-and-desist from destroying emails did not apply to them. This

argument obviously fails because there was no indication that Plaintiff would not or could not

start his own lawsuit in either state court or federal court where discovery is allowed.

   b. The Lawyers Obstructed the Depositions

         During the deposition of Rossi (Greer Decl. Ex. S), lawyer Riegel used the word

“objection” more than 100 times without ever explaining the reason for her objections. There

were only approximately 53 questions asked by Plaintiff during the short hour-long deposition.

Therefore, nearly half of the questions were obstructed by frivolous objections. Moreover, in

none of Riegel’s briefs at this summary judgment stage has she ever used any of those objections

as a basis for a motion to strike a Rossi answer. She was clearly engaging in frivolous

obstruction of the deposition.




                                                                                                 4
      Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 8 of 16



       Riegel also violated the rules of discovery by instructing Rossi not to answer legitimate

questions that should have been answered. She instructed him to not answer questions about

people who allegedly complained about Plaintiff’s behavior (Id. at 32:5). Riegel also instructed

Rossi to not answer questions about a street safety plan that Plaintiff had worked on with the

New York City DOT to implement by the apartment building, which was blocked by the real

estate defendants (Id. at 53:4). Both of those topics directly related to the motivation for Rossi to

conspire.

       During the Milstein deposition, lawyer Riegel once again frivolously objected

approximately 80 times during a deposition that took less than an hour to complete (see Greer

Decl. in opposition to Rossi declaration, Ex. 1 (Dkt. No. 399). Plaintiff only asked approximately

110 questions. Therefore, almost 73% of the questions were obstructed by a Riegel objection.

       Riegel also violated rules of discovery by instructing Milstein to not answer legitimate

questions. When Plaintiff tried to learn exactly who now owns the apartment building in

question, which is a sensitive topic because Milstein’s partners have ousted him, Riegel

instructed him to not answer (Id. 11:9-11, 12:3-18, 13:12-20). Plaintiff replied at one point,

“Objection to that objection. It's flagrantly frivolous and made to harass and stall the deposition.

Mariners Cove is a defendant and no one knows who owns it.” (Id. 12:19-24). When Plaintiff

tried to learn whether his apartment in dispute was up for sale, Riegel instructed Milstein not to

answer (Id. 27:2-25, 29:13-16). When Plaintiff was trying to learn whether Rossi or Martin had

authority to approve this expensive litigation without Milstein’s approval, Riegel again

obstructed by telling Milstein not to answer (Id. 31-14-17). When Plaintiff asked whether

Milstein’s business partners, who now manage the apartment building, have actually authorized

Riegel’s law firm to represent them (and there is no evidence that they have), she instructed

Milstein to not answer (Id. 34:13-19).



                                                                                                       5
      Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 9 of 16



2. The Soriero Testimony Is Admissible

       Like the BPCA legal team, the real estate defense team seems very concerned about the

recorded testimony of Robert Serpico’s long-time assistant, Linda Soriero. In the real estate’s

MOL in opposition, they devote six-pages, 6-11, on disputing the admissibility of the transcribed

phone call, arguing that it is hearsay. Plaintiff has thoroughly explained why the Soriero

transcript is admissible in his reply (Dkt. No. 412) to the BPCA’s MOL in opposition and adopts

those arguments here. New arguments will be addressed below.

   a. The Soriero Voice and Phone Call Are Authentic and Validated

       On page 6 of their MOL in opposition, the real estate defendants dispute that the voice on

the phone call and transcript (Greer Decl. Ex. Q) of the Soriero call are verifiably genuine. They

incorrectly cite two unrelated cases to support the same excerpt of a ruling. United States v.

Dinero Express, Inc., No. 99 Cr. 75, 2000 WL 1134484, at *1 (S.D.N.Y. Aug.9, 2000); United

States v. Morrison, 153 F.3d 34, 56 (2d Cir.1998). Presumably, they are actually intending to cite

from Penguin Books U.S.A., Inc. v. New Christian Church of Full Endeavor, Ltd., 262 F. Supp.

2d 251, 263–64 (S.D.N.Y. 2003) (emphasis supplied). The lawyers emphasized “that the

speakers are identified” as a criteria for an audio recording to be admissible.

       The Penguin ruling is irrelevant to this instant matter. The judge ruled in that case:

       “However, the integrity of the transcript and the identity of the speakers has not
       been established. Todeschi had no knowledge as to whether or not the tapes had
       been, or could have been edited or altered. He had no knowledge as to the identity
       of the speakers other than the labels. Mazza could not testify as to the integrity of
       the tapes and in fact noted that the tapes had been started and stopped in a number
       of places, leading to the conclusion that the tapes were not integral and complete.
       There has been no evidence to establish the identity of the speakers or indeed the
       relevance of any statements to the publication issue.”

In this case, unlike Penguin, Plaintiff Greer provided transcripts with no integrity issues, made

by an official court reporter. In the Second Greer Declaration (Dkt. No. 410), he swears that he

made the recording, that it was unaltered, and that the voice was Soriero. In addition, Plaintiff

                                                                                                     6
     Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 10 of 16



promptly told Judge Cott about the Soriero call during a bench hearing on March 21, 2017 (see

Greer Decl. Ex. A at 7:2-6), and testified under oath during his deposition that he had the call

with Soriero (Greer Dec. Ex. J at100 and 100).

          In Penguin, unlike this instant matter, the audio tapes came from an archive and the party

submitting them had no personal involvement the recording. In this case, Plaintiff personally

recorded the call and there are no chain of custody issues. The Soriero call is continuous and not

edited.

          In Penguin, unlike this case, there was no evidence to establish the identity of the voice.

In this case, in addition to Greer’s declaration, a second shorter audio recording of a Soriero

voice message was produced (Greer Dec. Ex. zA) which matches the voice in the longer call. In

addition, emails from Soriero to Greer referencing the comments made on the phone call were

produced to the defendants (Greer Decl. Exs. zB, zC).

          Also, due to spoliation and tampering with the Soriero witness by firing her (Dkt. No

313), the defendants should be sanctioned and not even be allowed to deny that the Soriero call is

not genuine or that the conspiracy to evict never occurred (see Plaintiff’s MOL in support Dkt.

No. 367 at 19-22).

          Finally, the only reason that a transcript of a call is being used as evidence in lieu of a

deposition transcript is because the BPCA defendants flagrantly tampered with the witness by

firing her from the BPCA. Soriero was going to willingly testify during a deposition until the

BPCA chilled her, causing her to go into hiding. The defendants cannot simultaneously obstruct

a deposition, then complain about the lack of sworn testimony.

   b. The Soriero Transcript Is Not Inadmissible Hearsay

          On page 8-10, the real estate lawyers argue that the Soriero testimony is inadmissible

hearsay for several reasons. First, they make the argument that, per FRE 801(d)(2)(D), Soriero



                                                                                                        7
     Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 11 of 16



was required to have be acting as an official BPCA employee in order to be a “party” and have

the transcript be excluded from the hearsay definition. However, the FRE notes on 801(d)(2)(D)

specifically address a situation identical to Soriero’s:

         FRE 801(d)(2)(D): The tradition has been to test the admissibility of statements
         by agents, as admissions, by applying the usual test of agency. Was the admission
         made by the agent acting in the scope of his employment? Since few principals
         employ agents for the purpose of making damaging statements, the usual
         result was exclusion of the statement. Dissatisfaction with this loss of valuable
         and helpful evidence has been increasing. A substantial trend favors
         admitting statements related to a matter within the scope of the agency or
         employment. Grayson v. Williams, 256 F.2d 61 (10th Cir. 1958); Koninklijke
         Luchtvaart Maatschappij N.V. KLM Royal Dutch Airlines v. Tuller, 110
         U.S.App.D.C. 282, 292 F.2d 775, 784 (1961); Martin v. Savage Truck Lines, Inc.,
         121 F.Supp. 417 (D.D.C. 1054), and numerous state court decisions collected in 4
         Wigmore, 1964 Supp., pp. 66–73, with comments by the editor that the statements
         should have been excluded as not within scope of agency. For the traditional view
         see Northern Oil Co. v. Socony Mobile Oil Co., 347 F.2d 81, 85 (2d Cir. 1965)
         and cases cited therein. Similar provisions are found in Uniform Rule 63(9)(a),
         Kansas Code of Civil Procedure §60–460(i)(1), and New Jersey Evidence Rule
         63(9)(a).

In the bold highlighted section above, the note perfectly addresses Soriero’s position at

the time of the phone call, which was one of being a BPCA employee but making

damaging statements against Serpico and the BPCA. Therefore, the case that they cite on

page 8 of their MOL, Evans v. Port Auth. of N.Y. & New Jersey, 192 F. Supp. 2d 247,

262 (S.D.N.Y. 2002), is irrelevant and conflicts with the actual federal rules committee

notes.

         Next, the real estate lawyers argue on page 8 of their MOL that FRE 804(b)(3)

also does not allow the Soriero transcript to be excluded from the definition of hearsay

because Soriero’s comments were not “against her interests” On page 9, the lawyers

wrote:

         “Here, the Recording as a whole seems to be made entirely in Ms. Soriero’s
         interest, as during the phone call she attempts to list a long list of grievances with
         BPCA (that are entirely unrelated to this case) and appears to be attempting to
         formulate a lawsuit against BPCA. Furthermore, the specific portion of statements
         Plaintiff is seeking to introduce do not concern Ms. Soriero’s pecuniary interest;
                                                                                                  8
     Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 12 of 16



       they concern a purported email from Mr. Serpico to Mr. Rossi unrelated to Ms.
       Soriero or her pecuniary interest in any way.

However, no reasonable jury would agree. Soriero was still employed at the time of the call and

very fearful of losing her job as a result of speaking to Plaintiff. She was courageously doing so

because of her dislike for her long-time boss Serpico and because she thought it was the right

thing to do.

       In the transcript (see Greer Decl. Ex. Q), the comments prove that Soriero was scared to

tell Plaintiff much of anything, in fear of retribution from Serpico. At Id. 2:23-25, she stated,

“Well, I don't want to do that without a lawyer present. You know what I'm saying? I got to

protect myself.”, and at Id. 3:20-21, “See, I can't talk. I don't know you. I haven't met you.”, and

at Id. 8:3-6, “I've been gone for heart tests. I've been having a lot of anxiety and stress. And a lot

of it has been caused by him with the stuff he's done to me.” Therefore, the case law cited,

Hargett v. National Westminster Bank, USA, 78 F.3d 836, 842 (2d Cir. 1996), is moot.

       Next, on page 10, the real estate lawyers seem to cut and paste from the BPCA lawyers’

MOL. Here, the defendants have the chutzpah to argue that the Soriero transcript is inadmissible

because the original email from Serpico to Rossi would be better evidence, citing Best Rules of

Evidence and FRE 1002. This is despite the fact that they are the ones who committed spoliation,

refused to produce the smoking-gun email, deleted emails from servers, and quashed subpoenas

of both the in-house real estate computer archives and of the BPCA archives held by Iron

Mountain servers.

c.     The Key Email Described by Soriero Was Not Produced

       On page 11, the real estate lawyers again seem to cut and paste from the BPCA and deny

failing to produce the “smoking gun email” described by Soriero. They reference one email that

was produced, which was sent after the housing court litigation began and long after the

conspiracy to evict transpired. This May of 2014 email from Serpico to Rossi, “Is he now

                                                                                                         9
     Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 13 of 16



evicted? Where is he living?”, prompted by an email from Plaintiff warning them to not delete

any emails, is clearly not what Soriero was referring to when she said on the phone call:

       “Oh, because I saw an email that -- but see I'm not supposed to see an email. It
       was on Bob's screen to Steve Rossi that basically -- to -- to look into your -- to --
       to your rent situation. And then he kept calling and calling. And Bob said one day
       to me: Oh, Steven Greer, he's no longer in his apartment. So I looked at him like:
       What? And you didn't have anything to do with it?”

       Also, due to spoliation and sanctions allowing a jury to be instructed on adverse

inference, the BPCA cannot even argue that this email does not exist.


3. The Swanson Testimony Is Indeed Admissible

       On pages 5-6 of the real estate’s MOL in opposition, they dispute the admissibility of the

Swanson testimony against Serpico as irrelevant “carrying no evidentiary value whatsoever.”,

citing Thaxton v. Simmons, No. 9:10-cv-1318, 2013 WL 4806457, *11-*12 (N.D.N.Y. Sept. 9,

2013). They claim that Serpico’s nonverbal answer to Swanson is nothing but Swanson’s

inadmissible opinion.

       Plaintiff thoroughly refutes these arguments in his reply to the BPCA’s MOL in

opposition (Dkt. No. 412, at 17-19). Plaintiff adopts those arguments here.

4. The Ford Testimony Proves Serpico’s Motive for Conspiracy

       On page 6, the real estate lawyers use more hyperbole and argue that the Allyson Ford is

“entirely unrelated to this matter”, despite the BPCA lawyers admitting that it “might” prove a

motive. Ignoring the fact that Ford was an eyewitness to Serpico angrily discussing

BatteryPark.TV during official BPCA meetings, proving a motive for the conspiracy, the real

estate lawyers instead focus on whether Ford’s comment that the BPCA engaged in

“wrongdoing” is relevant.

       Plaintiff has fully addressed the relevance and admissibility of the Ford testimony in his

various MOL’s (Dkt. No. No.s 367, 396, 398, 412). He adopts those arguments here.

                                                                                                  10
     Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 14 of 16



5. Plaintiff’s Rent Payment Pattern Was Never a Reason for Eviction

       On page 12, the lawyers admit that they never argued during the three years of housing

court litigation that Plaintiff was either (A) a non-payment, or “erratic payment”, problem, and/or

(B) a menace to other residents, as the reason for the lease non-renewal. Lawyer Riegel claims:

       “It was a tactical decision to bring the summary proceeding to evict Plaintiff
       based solely on the expiration of his lease rather than the non-payment of rent or
       because of Plaintiff’s harassment (see State Court Proceeding petition; P. Ex. R),
       because the latter causes of action are more burdensome to prove than the mere
       expiration of a lease. This tactical decision is very common amongst experienced
       landlord/tenant law practitioners.”

While it might be true that this strategy is often used for routine evictions of orphans, widows,

and non-English-speaking immigrants who cannot afford lawyers (which are the vast majority of

cases that Riegel and her law firm deal with in housing court), once Plaintiff began winning

motion after motion, and the case became protracted, it would have seemed logical that the

lawyers would have started to mention these egregious crimes by Plaintiff, if they were actually

true. After two or three years of housing court, when it was clear that Plaintiff was not moving

out and was going to defend his rights, it is inconceivable that the lawyers never mentioned that

Plaintiff allegedly was two-months late in rent for 15 of the most recent months, or engaged in

abominable behavior toward neighbors.

       The likely explanation for the real estate lawyers never arguing that Plaintiff was

“erratic” and chronically late in rent is that those allegations are false and could not be easily

proven in court. Indeed, Riegel states that it would have been, “more burdensome to prove” this

non-rent-payment allegation. That is because the accounting system used by Milford

Management is archaic and produces incorrect invoices every month. Even for this federal case,

the real estate lawyers could not produce original raw accounting data to prove their case.

Instead, they created ex post facto clean-looking tables solely for the purpose of this litigation,

which are inadmissible.

                                                                                                      11
     Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 15 of 16



6. Plaintiff’s Eviction Was Unique and No Other Tenant Was Ever Evicted

        On page 13, the lawyers make a carefully worded, intentionally vague, statement so as to

avoid perjury, “Landlord Defendants did take legal action where other residents of the Building

who did not pay rent in similar amounts to Plaintiff.” In fact, they failed to produce any evidence

that any other tenant has ever been evicted for any reason whatsoever. Even in the case of a man

in Plaintiff’s building committing egregious building violations by hoarding three large-breed

Huskie dogs (one dog died, possibly from neglect, but he promptly adopted another), plus many

cats and many birds, the defendants never initiated eviction proceedings. The inadequate list of

“legal action” that they produced could not be verified due to heavy redaction and failure of

Rossi to recall any details during his deposition (Greer Decl. Ex. S, at 43:23-48:20). The

litigation cases were likely just automatic “Three-Day Warning” letters, or people who moved

out without paying, but it is impossible to determine.

        Of note, Judge Cott found this to be such an important argument by Plaintiff that he

ordered the real estate defendants to produce documents showing any past litigation and

evictions since 2010 (see transcript of bench hearing with Judge Cott on March 21, 2017, Greer

Decl. Ex. A, at 52:8-12). Despite that, the best that they could produce was highly redacted

illegible reports.

        Since the real estate defendants could not produce any evidence, not even verbal

testimony by Rossi or Milstein, that they have ever evicted anyone for any reason over 30-years,

then Plaintiff was clearly treated differently from everyone else in the building. This helps prove

the conspiracy and a reasonable jury would agree.

                                           CONCLUSION

        After initiating litigation against Plaintiff in May of 2014 and never accusing him of either

missing rent, being erratic with rent, or of harassing neighbors, the real estate defendants are now forced


                                                                                                        12
     Case 1:15-cv-06119-AJN-JLC Document 413 Filed 07/27/17 Page 16 of 16



to justify their eviction of Plaintiff in this Federal Court as something other than a conspiracy with the

BPCA to retaliate. As a result, the real estate defendants, in collusion with the BPCA, have concocted an

elaborate ruse using smear tactics and lies to portray Plaintiff as a man who deserved to be evicted.

        However, the real estate defendants could produce no raw, verifiable, admissible accounting

ledger book data to prove that Plaintiff was guilty of non-payment, because Plaintiff paid rent for 14-

years. Likewise, they could produce no evidence that Plaintiff harassed any neighbors prior to the

decision to not renew the lease, because Plaintiff never did any such thing. The only evidence that they

could produce on both charges was ex post facto accounting tables created in 2017, or irrelevant emails

from neighbors who were instigated by the real estate lawyers to complain about Plaintiff solely for the

purposes of this litigation. To prevent the documented facts that support Plaintiff’s charges from

contradicting their fabricated story, the defendants engaged in flagrant spoliation of evidence.

        That spoliation warrants sanctions to prevent them from denying the conspiracy took place. The

mountain of evidence, in the form of numerous deposition transcripts, emails, and obvious deletion of

key emails, should also sway this Court to grant Plaintiff’s motion for summary judgment.



Dated: July 27, 2017
Columbus, Ohio                                                By: ___________________

                                                              Steven Greer, pro se
                                                              4674 Tatersall Court
                                                              Columbus, Ohio 43230
                                                              (212) 945-7252
                                                              steve@batterypark.tv




                                                                                                        13
